                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

UNITED STATES OF AMERICA

      v.                                 CASE NO. 8:21-cr-348-SCB-SPF
                                                   26 U.S.C. § 5861(d)
                                                   18 U.S.C. § 842(j)
JEREMY BROWN                                       18 U.S.C. § 793(e)

                     SECOND SUPERSEDING INDICTMENT

      The Grand Jury charges:

                                     COUNT ONE

      From an unknown date, but continuing through on or about September 30,

2021, in Hillsborough County, in the Middle District of Florida, the defendant,

                                  JEREMY BROWN,

knowingly possessed a firearm, as defined in 26 U.S.C. §§ 5845(a)(1) and (d), namely,

a CBC Industries shotgun, 410 Gauge, model SB42Y, serial number C1247014, having

a barrel or barrels of less than 18 inches in length, not registered to him in the National

Firearms Registration and Transfer Record, in violation of 26 U.S.C. § 5841.

      In violation of 26 U.S.C. §§ 5861(d) and 5871.

                                     COUNT TWO

      From an unknown date, but continuing through on or about September 30,

2021, in Hillsborough County, in the Middle District of Florida, the defendant,

                                  JEREMY BROWN,

knowingly possessed a firearm, as defined in 26 U.S.C. §§ 5845(a)(3) and (c), namely,
a Palmetto Armory rifle, 5.56 caliber, model PA-15, serial number LW257921, having

a barrel or barrels of less than 16 inches in length, not registered to him in the National

Firearms Registration and Transfer Record, in violation of 26 U.S.C. § 5841.

      In violation of 26 U.S.C. §§ 5861(d) and 5871.

                                   COUNT THREE

       From an unknown date, but continuing through on or about September 30,

2021, in Hillsborough County, in the Middle District of Florida, the defendant,

                                  JEREMY BROWN,

knowingly possessed a destructive device, as defined in 26 U.S.C. §§ 5845(a)(8) and

(f)(1)(B), namely, an explosive grenade, model M67, Lot # 7-69 COMP B MA-11-

12F, referred to here as grenade A, not registered to him in the National Firearms

Registration and Transfer Record, in violation of 26 U.S.C. § 5841.

       In violation of 26 U.S.C. §§ 5861(d) and 5871.

                                    COUNT FOUR

       From an unknown date, but continuing through on or about September 30,

2021, in Hillsborough County, in the Middle District of Florida, the defendant,

                                  JEREMY BROWN,

knowingly possessed a destructive device, as defined in 26 U.S.C. §§ 5845(a)(8) and

(f)(1)(B), namely, an explosive grenade, model M67, Lot # 7-69 COMP B MA-11-

12F, referred to here as grenade B, not registered to him in the National Firearms

Registration and Transfer Record, in violation of 26 U.S.C. § 5841.




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        In violation of 26 U.S.C. §§ 5861(d) and 5871.

                                     COUNT FIVE

        From an unknown date, but continuing through on or about September 30,

2021, in Hillsborough County, in the Middle District of Florida, the defendant,

                                  JEREMY BROWN,

knowingly stored explosive material in a manner not in conformity with regulations

promulgated by the Attorney General and pursuant to 18 U.S.C. § 847, in that he

stored two grenades, model M67, Lot # 7-69 COMP B MA-11-12F, in a recreational

vehicle located at 4804 10th Avenue South, Tampa, Florida 33619, said recreational

vehicle not then conforming with the requirements of Type 1 through 5 storage

facilities.

        In violation of 18 U.S.C. §§ 842(j), 844(b), and 27 C.F.R. § 555.201, et seq.

                           COUNTS SIX THROUGH TEN

                                      Introduction

        1.    From in or around October 1992 until in or around October 2012, the

defendant, JEREMY BROWN, served in the U.S. Army Special Forces.

        2.    Pursuant to Executive Order 12958 signed on April 17, 1995, as amended

by Executive Order 13292 on March 25, 2003, and Executive Order 13526 on

December 29, 2009, national security information was classified as “TOP SECRET,”

“SECRET,” or “CONFIDENTIAL.” National security information was information

owned by, produced by, produced for, and under the control of the United States




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government that was classified as follows:

      A. Information was classified as TOP SECRET if the unauthorized disclosure
         of that information reasonably could be expected to cause exceptionally
         grave damage to the national security that the original classification
         authority was able to identify and describe.

      B. Information was classified as SECRET if the unauthorized disclosure of that
         information reasonably could be expected to cause serious damage to the
         national security that the original classification authority was able to identify
         and describe.

      C. Information was classified as CONFIDENTIAL if the unauthorized
         disclosure of that information reasonably could be expected to cause damage
         to the national security that the original classification authority was able to
         identify and describe.

      3.     Classified information was marked according to its classification

following standard formats for different types of media, including headers and footers

stating the highest classification level of information a document contained and

individual classification markings for each paragraph. Information classified at any

level could only be lawfully accessed by persons determined by an appropriate United

States government official to be eligible for access to classified information, who had

signed an approved non-disclosure agreement, who received a security clearance, and

who had a “need to know” the classified information. Classified information could

only be stored in an approved facility and container.

      4.     From in or around 1993 until in or around October 2012, BROWN held

a SECRET security clearance and had lawful access to classified information relating

to the national defense that was closely held by the government (“National Defense

Information” or “NDI”).



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                                      The Charges

       From an unknown date, but continuing through on or about September 30,

2021, in Hillsborough County, in the Middle District of Florida, the defendant,

                                  JEREMY BROWN,

having unauthorized possession of, access to, and control over documents relating to

the national defense, willfully retained the documents and failed to deliver them to the

officer or employee of the United States entitled to receive it, as specified in each count

below:


   COUNT DOCUMENT                                  NDI CLASSIFICATION LEVEL

               Threat Frequency Report –
               Combined Explosives
         6     Exploitation Cell (CEXC) –                       SECRET
               Afghanistan dated October 13,
               2004
               IED Incident Report – CEXC and
         7                                                      SECRET
               Addendum dated January 6, 2005
               Spider Device Testing Procedures
         8     and Results dated November 1,                    SECRET
               2004
               Fragmentary Order dated January
         9                                                      SECRET
               14, 2005
               Trip Report dated September 1,
       10                                                       SECRET
               2011, and Attachments

       In violation of 18 U.S.C. § 793(e).




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